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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                         NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                         DECLARATION OF
                               Plaintiffs,                 JENNY HEDDIN
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States; U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security; U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration; U.S.
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State; U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services; U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General; U.S. DEPARTMENT OF
     AGRICULTURE, GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture; and the UNITED STATES
25   OF AMERICA,
26                             Defendants.


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                                                                             Civil Rights Division
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 1          I, Jenny Heddin, declare as follows:
 2          1.      I am over the age of 18, competent to testify as to the matters herein, and make
 4   this declaration based on my personal knowledge.
 4          2.      I am the Deputy Secretary—Chief of Staff for the Washington State Department
 5   of Children, Youth, and Families (DCYF). I served as the Finance Director for Children’s
 6   Administration from 2013 until the creation of DCYF in 2018. I also served as the Chief
 7   Financial Officer for DCYF from its creation until serving as DCYF’s Director of Strategic
 8   Initiatives and Collaboration. I became DCYF’s Chief of Staff on October 6, 2023. In these
 9   various roles, I oversaw administration of the Title IV-E grant, financial activities for child
10   welfare including foster care and now programmatic functions including foster care. I hold a
11   master’s degree in Public Administration and have worked for Washington for 20 years.
12          3.      DCYF is a cabinet-level agency focused on the well-being of children. Its vision
13   is to ensure that Washington state’s children and youth grow up safe and healthy—thriving
14   physically, emotionally, and academically, nurtured by family and community. DCYF is the lead
15   agency for child welfare services that support children and families to build resilience and health,
16   and to improve educational outcomes. It partners with state and local agencies, tribes, and other
17   organizations in communities across the state of Washington. It focuses on supporting children
18   and families at their most vulnerable points, giving them the tools they need to succeed.
19   According to brain science, laying a strong foundation early in life critically impacts healthy
20   development. And addressing trauma, especially at critical transition points in the lives of youth,
21   helps ensure successful transition into adulthood. To truly give all children the great start in
22   school and life they deserve, DCYF was created to be a comprehensive agency exclusively
23   dedicated to the social, emotional, and physical well-being of children, youth and families—an
24   agency that prioritizes early learning, prevention, and early intervention at critical points along
25   the age continuum from birth through adolescence.
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 1          4.      DCYF administers Washington’s child welfare system which is funded in part
 2   through an annual appropriation based on an open-ended formula grant entitlement operated by
 4   the U.S. Department of Health and Human Services (HHS) Federal Foster Care Program under
 4   Title IV, Subpart E of the Social Security Act (Title IV-E).
 5          5.      Title IV-E reimburses DCYF for a portion of the maintenance, administrative,
 6   and legal costs associated with caring for children placed in foster care. The state provides foster
 7   care services to children who are in danger of imminent physical harm from abuse or neglect,
 8   have been abused or neglected, are abandoned, or who have no parent capable of providing
 9   adequate care so that the children are in circumstances that endanger their psychological or
10   physical development. It provides Title IV-E reimbursable services to achieve permanency for
11   the children through family reunification, adoption, guardianship, or another approved living
12   arrangement. Title IV-E also partially reimburses expenses associated with permanent placement
13   of children through guardianship or adoption.
14          6.      While the state provides care for all children in foster care within its jurisdiction,
15   it is only reimbursed through Title IV-E for expenses associated with children who meet Title
16   IV-E eligibility requirements, including being United States citizens or qualifying non-citizens.
17   DCYF receives federal reimbursements for many of the expenses associated with the care of
18   dependent children eligible for Title IV-E. Services provided to individuals who are
19   undocumented or who do not have a qualifying immigration status, are not eligible for federal
20   Title IV-E reimbursement. Those individuals are also not entitled to other federally funded
21   benefits such as Medicaid. DCYF is also entitled to reimbursements for many types of
22   administrative and legal costs incurred in serving Title IV-E children.
23          7.      Title IV-E’s “Adoption Assistance Program” is designed to facilitate the timely
24   permanence for children whose special needs or circumstances would otherwise make them
25   difficult to place. Under federal law, DCYF receives Title IV-E funding for the administrative
26   functions of the Adoption Assistance Program, including portion of a monthly stipend paid to


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 1   the adoptive parents to assist with the cost of caring for the child. In addition, Title IV-E also
 2   provides for reimbursement for a onetime payment towards the cost of the adoption of a Title
 4   IV-E eligible child. The maximum amount a family can receive in Washington is $1500. Title
 4   IV-E reimburses the state for a portion of any ongoing legal and administrative expenses
 5   including the determination and redetermination of eligibility; fair hearings and appeals; rate
 6   setting; and other costs directly related only to the administration of the adoption assistance
 7   program. It also includes the administration of any grievance procedures; negotiation and review
 8   of adoption agreements; post-placement management of subsidy payments; recruitment of
 9   adoptive homes; placement of the child in the adoptive home; case reviews conducted during a
10   specific preadoptive placement for children who are legally free for adoption; case management
11   and supervision prior to a final decree of adoption; a proportionate share of related agency
12   overhead; referral to services; development of the case plan; home studies, and a proportionate
13   share of the development and use of adoption exchanges.
14           8.      Title IV-E’s “Guardianship Assistance Program,” like the Adoption Assistance
15   Program, assists with the expense of achieving permanency for the dependent child. When a
16   child is placed with a qualifying relative, the agency can receive partial reimbursement for
17   related expenses and the monthly stipend provided to the relative guardian to assist with the cost
18   of caring for the child, as well as for the same kind of legal and administrative services as
19   provided for under the Adoption Assistance Program.
20           9.      Title IV-E’s “Foster Care Program,” provides partial reimbursement for the
21   regular costs of supervising and providing foster care services to children, including eligible
22   youth up to their twenty-first birthday. This includes payments to cover the cost of (and the cost
23   of providing) food, clothing, shelter, daily supervision, school supplies, a child's personal
24   incidentals, liability insurance with respect to a child, reasonable travel to the child's home for
25   visitation, and reasonable travel for the child to remain in the school in which the child is enrolled
26   at the time of placement. In the case of institutional care, it also includes the administration of


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 1   providing all the services detailed above. The state can also claim reimbursement for part of the
 2   cost establishing eligibility, training of staff and foster parents, and ongoing case management
 4   so long as the child remains eligible and requires services.
 4          10.     Under the “Foster Care Program,” the state can also claim reimbursement for part
 5   of the cost of providing legal representation to the child and the parents throughout the
 6   dependency process, including any permanency proceedings. In Washington, the Office of Civil
 7   Legal Aid is the agency that administers the Children’s Representation Program. This program’s
 8   mission is to underwrite and oversee the delivery of effective standards-based, trauma-informed,
 9   and culturally-competent attorney representation for children subject to dependency and
10   termination of parental rights proceedings in Washington State. The Office of Public Defense is
11   the agency that administers the parents’ representation program by contracting with attorneys in
12   all thirty-nine counties in Washington to represent indigent parents, custodians, and legal
13   guardians involved in child dependency and termination of parental rights proceedings. The
14   available reimbursement under Title IV-E is used, in part, to fund these programs.
15          11.     The amount of federal funds that Washington is entitled to under Title IV-E
16   depends on the number of Title IV-E eligible children and the type of services they receive.
17   Among the criteria for eligibility is the requirement that the child be a United States citizen or
18   eligible non-citizen. The amount Washington receives is partly based on Washington’s
19   “penetration rate,” which is then used to determine the amount Washington will be reimbursed
20   for providing services. The penetration rate describes the proportion of Title IV-E eligible
21   children in foster care in relation to the total number of children in foster care, pursuant to the
22   definition of foster care in 45 CFR 1355.20. Certain reimbursable program administration costs
23   are determined using a formula that is calculated on the number of hours spent in reimbursable
24   activities multiplied by the penetration rate percentage. The fewer children that are eligible for
25   Title IV-E, the lower the penetration rate. The lower the penetration rate, the lower the potential
26   reimbursement to the state and the greater the cost to the state.


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 1           12.     Title IV-E also partially reimburses Washington for the cost of direct care for
 2   Title IV-E eligible children placed with fully licensed foster caregivers who receive a payment
 4   for the children placed in their care. Again, the exclusion of a child from the pool of reimbursable
 4   expenses reduces the amount that Washinton is reimbursed, leaving the state to bear the full cost
 5   of caring for the child.
 6           13.     Title IV-E also partially reimburses the state for a percentage of the legal and
 7   administrative services afforded to children and families involved in dependency, adoption and
 8   guardianship proceedings. Legal services include legal representation of the child, the
 9   appointment and services of Guardians ad Litem, one time court costs and fees associated with
10   adoption and guardianship. Covered administrative services include case studies, recruitment of
11   foster parents, referral to services, case management, data collection, data storage, and a
12   proportionate share of agency overhead. The reimbursement formulas for these services are also
13   calculated based on the expenses associated with total number of Title IV-E eligible children
14   and a reduction in the total number of eligible children shifts the costs for those children entirely
15   to the State.
16           14.     Notably, in order for Washington to be eligible for the payments under the Foster
17   Care Maintenance Program and the Adoption Assistance Program, Title IV-E requires that
18   DCYF make reasonable efforts to finalize children’s permanent plans and that children in foster
19   care have case plans in which DCYF files a petition to terminate the parental rights of the
20   children’s parents when children have been in foster care for fifteen of the most recent twenty-
21   two months, unless an exception applies. Many caregivers are only able to adopt children in
22   foster care or serve as their legal guardians because of the financial support provided to defray
23   the costs associated with the adoption proceeding and through the ongoing monthly assistance
24   payment for these high needs children. Washington receives federal money through Title IV-E’s
25   Adoption Support Program and Guardianship Support Program to provide this assistance, which
26   contributes to children timely achieving permanency. The exclusion of a child from the pool of


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 1   children who are eligible for reimbursement of permanency expenses and assistance payments
 2   puts Washington in a no-win situation: it must either suffer the reduced amount that Washington
 4   is reimbursed and thereby increase its financial responsibility for children’s permanency
 4   assistance programs, or avoid the increase in state financial responsibility of permanency
 5   assistance by maintaining children in foster care and delaying their permanency, which will also
 6   carry financial consequences because the State is not fulfilling Title IV-E’s mandate that it make
 7   reasonable efforts to finalize children’s permanency plans and file petitions to terminate the
 8   parental rights of the children’s parents when children have been in foster care for the requisite
 9   period of time. Moreover, not only is extending children’s length of stay in foster care damaging
10   to children, but it will still increase the costs to the state if there is a reduction in the pool of Title
11   IV-E eligible children.
12            15.    Because the penetration rate depends on the number of children eligible for Title
13   IV-E funding, each decrease in the number of children eligible for Title IV-E funding negatively
14   affects the total amount of federal funding that Washington receives under Title IV-E for foster
15   care maintenance, adoption support, and guardianship support, and associated legal,
16   administrative, and training costs. In November 2024, Washington had a penetration rate of 58.6
17   percent for children in traditional foster care.
18            16.    The median length of stay for a child in out-of-home care that is longer than seven
19   days is nearly two years—727 days. If a child is ineligible for Title IV-E because they are not a
20   citizen, DCYF cannot receive federal reimbursements for any of the services provided to that
21   child.
22            17.    In federal fiscal year 2024, DCYF received approximately $219 million in
23   reimbursable Title IV-E expenses serving eligible children. This includes about $160 million in
24   reimbursements for foster care expenditures, $55 million in adoption support reimbursements,
25   and $4 million in guardianship support reimbursements, all including administrative costs. And
26   many of those who enter DCYF’s care are infants and newborns. In 2022, 2,087 children under


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 1   the age of 1 entered DCYF’s services for out-of-home care. Of those, 1,039 were newborns. In
 2   2023, 1,481 under the age of 1 entered DCYF’s services for out-of-home care, and 701 were
 4   newborns.
 4          18.     I understand that the President has issued an Executive Order directing that
 5   individuals born to two unauthorized non-citizen parents are not to be deemed United States
 6   citizens. The federal government’s policy of ending birthright citizenship for children born in
 7   the United States based on their parent(s)’ non-citizen/immigration status will have program
 8   wide negative impacts on DCYF’s administration of childcare subsidies for families, and foster
 9   care, adoption assistance guardianship assistance and extended foster care programs and
10   associated legal, administrative, and training functions.
11          19.      The state laws and regulations that govern DCYF’s Child Welfare Programs
12   were specifically crafted to comply with the requirements for Title IV-E in anticipation that the
13   financial partnership between the State and Federal government would maximize resources
14   available to ensure that children and families residing in the state have the opportunity to thrive
15   in safe, healthy environments. The federal government’s stripping of birthright citizenship from
16   children will result in babies being born in Washington as non-citizens, rendering the cost of
17   their care non-reimbursable under Title IV-E. Washington will continue to provide services to
18   those children, but any resulting reduction in the reimbursement rate will reduce the resources
19   available to serve the entire population of children in foster care, including children who are U.S.
20   citizens. Washington will continue to have administrative, legal, and training costs associated
21   with the children no longer eligible for Title IV-E. Without reimbursement, the resources
22   available to provide for those services for the entire population of children in foster care will be
23   reduced as well.
24          20.     DCYF is required by federal law to verify the citizenship status of all children
25   receiving foster care support under Title IV-E, in order to determine the child’s eligibility.
26   DCYF’s service to children may begin as soon as they are born, so those determinations must be


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 1   made with respect to newborns. Currently, the primary method of citizenship verification is
 2   through birth certificates issued by other state agencies. DCYF relies on those birth certificates
 4   to determine whether children are eligible under Title IV-E.
 4          21.     If DCYF is no longer able to rely on birth certificates to make eligibility
 5   determinations, it will need to amend its processes related to Title IV-E eligibility
 6   determinations. It will also require DCYF to update or amend existing trainings regarding
 7   eligibility determinations to account for the change in birthright citizenship. These necessary
 8   process changes will demand staff time that would have been spent on other projects to better
 9   serve the children and families of Washington.
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 4          DATED and SIGNED this 20th day of January 2025, at Olympia, Washington.
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                                                  JENNY HEDDIN
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